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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE: BP p.l.c.            §                           MDL No. 10-md-2185
SECURITIES LITIGATION       §
                            §
                            §
                            §
HOUSTON MUNICIPAL EMPLOYEES §                           Civ. Act. No. 4:12-cv-3714
PENSION SYSTEM and SHELL    §
PENSION TRUST               §
                            §
v.                          §
                            §
BP p.l.c., et al.           §                           HON. KEITH P. ELLISON
                            §

                                              ORDER

          Pending before the Court is Defendants’ Amended Second Tranche Consolidated Motion

to Dismiss. (Doc. Nos. 58, 63.)1 Having reviewed the original motion (Doc. No. 32), the

amended motion, Plaintiffs’ response (Doc. Nos. 73, 76), Defendants’ reply (Doc. Nos. 82, 83),

and all arguments and papers in support thereof, the Court finds that Defendants’ amended

motion (Doc. Nos. 58, 63) must be GRANTED IN PART and DENIED IN PART. Pursuant to

the reasoning articulated in the Memorandum and Order (the “Avalon Holdings Opinion”) issued

this day in a related case—Avalon Holdings, Inc. et al. v. BP p.l.c. et al. [12-cv-3715]—the Court

GRANTS the Amended Motion to Dismiss as to the following claims:

                        All claims based on the portions of Anthony Hayward’s December 17,
                         2008 speech at the HRH Prince of Wales’s 3rd Annual Accounting for
                         Sustainability Forum specified on page 13 of the parties’ original draft of
                         the Conforming Stipulation. (Doc. No. 56, at 13.)

                        All claims based on statements made in the 2004 Annual Report, dated
                         June 30, 2005. (Doc. Nos. 27, 45 (the “Houston Compl.”), at ¶ 180.)

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    Unless otherwise indicated, all docket references are to 12-cv-3714.
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                    All claims based on statements made in the August 17, 2005 press release.
                     (Id. ¶ 181.)

                    All claims based on statements made in the October 24, 2005 press
                     release. (Id. ¶ 182.)

                    All claims based on statements made in the 2005 Annual Review, dated
                     February 6, 2006. (Id. ¶ 184.)

                    All claims based on statements made in the 2006 Annual Report, dated
                     March 6, 2007. (Id. ¶ 187.)

                    All claims based on Mr. Hayward’s statement to the press on May 18,
                     2010. (Id. ¶ 278.)

       There being no claims remaining against Byron Grote, Lord John Browne, Andrew

Inglis, or Peter Sutherland, these defendants are DISMISSED.

       In all other respects, the Motion is DENIED.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the thirtieth day of September, 2014.




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                                           KEITH P. ELLISON
                                           UNITED STATES DISTRICT JUDGE




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